               Case
                Case18-11439-mdc
                     18-11439-mdc Doc
                                   Doc117-5
                                         FiledFiled
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                                                                                  18:21:44
                                                                                        DescDesc
                                                                                             Main
                                        Document
                                           Exhibit D Page 1  10ofof464
 Fill in this information to identify your case and this filing:

 Debtor 1                    Ruth Lynn Mahon
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF PENNSYLVANIA

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1214 Harding Drive                                                             Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Havertown                         PA        19083-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                                 $92,000.00                 $92,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
                                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Primary residence. Single family twin home. 3 bed 1 and half bath


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $92,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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               Case
                Case18-11439-mdc
                     18-11439-mdc Doc
                                   Doc117-5
                                         FiledFiled
                                               03/02/18
                                                    04/26/18
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                                                                              13:40:20
                                                                                  18:21:44
                                                                                        DescDesc
                                                                                             Main
                                        Document
                                           Exhibit D Page 2  18ofof464
 Fill in this information to identify your case:

 Debtor 1                   Ruth Lynn Mahon
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
         Treasurer of Delaware
 2.1                                                                                                                $546.51              $92,000.00               $546.51
         County                                   Describe the property that secures the claim:
         Creditor's Name                          1214 Harding Drive Havertown, PA
                                                  19083
         Courthouse and                           Primary residence. Single family
         government center                        twin home. 3 bed 1 and half bath
                                                  As of the date you file, the claim is: Check all that
         201 west front street                    apply.
         Media, PA 19063                              Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          12/31/2017                Last 4 digits of account number


         Upper Darby School
 2.2                                                                                                              $3,149.98              $92,000.00            $3,149.98
         District                                 Describe the property that secures the claim:
         Creditor's Name                          1214 Harding Drive Havertown, PA
                                                  19083
                                                  Primary residence. Single family
                                                  twin home. 3 bed 1 and half bath
                                                  As of the date you file, the claim is: Check all that
         4611 Bond Avenue                         apply.
         Drexel hill, PA 19026                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit


Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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             Case
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                   18-11439-mdc Doc
                                 Doc117-5
                                       FiledFiled
                                             03/02/18
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                                                                   03/02/18
                                                                       04/26/18
                                                                            13:40:20
                                                                                18:21:44
                                                                                      DescDesc
                                                                                           Main
                                      Document
                                         Exhibit D Page 3  19ofof464
 Debtor 1 Ruth Lynn Mahon                                                                                     Case number (if know)
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          10/13/2017                  Last 4 digits of account number         8900

 2.3     Upper Darby Township                       Describe the property that secures the claim:                     $1,987.95       $92,000.00       $1,987.95
         Creditor's Name                            1214 Harding Drive Havertown, PA
                                                    19083
                                                    Primary residence. Single family
         100 garrett road                           twin home. 3 bed 1 and half bath
                                                    As of the date you file, the claim is: Check all that
         Upper darby, PA                            apply.
         19082-3135                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          05/31/2017                  Last 4 digits of account number         8900

 2.4     Wells Fargo Home Equity                    Describe the property that secures the claim:                   $27,760.29        $92,000.00     $27,760.29
         Creditor's Name                            1214 Harding Drive Havertown, PA
                                                    19083
                                                    Primary residence. Single family
         PO Box 14529                               twin home. 3 bed 1 and half bath
                                                    As of the date you file, the claim is: Check all that
         Des Moines, IA                             apply.
         50306-3529                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number         1998

         Wells Fargo Home
 2.5                                                                                                                $95,579.88        $92,000.00       $3,579.88
         Mortgage                                   Describe the property that secures the claim:
         Creditor's Name                            1214 Harding Drive Havertown, PA
                                                    19083
                                                    Primary residence. Single family
         PO Box 10395                               twin home. 3 bed 1 and half bath
                                                    As of the date you file, the claim is: Check all that
         Des Moines, IA                             apply.
         50306-0395                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)

Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 2 of 3
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                                                 04/26/18
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                                                                  03/02/18
                                                                      04/26/18
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                                                                                     DescDesc
                                                                                          Main
                                     Document
                                        Exhibit D Page 4  20ofof464
 Debtor 1 Ruth Lynn Mahon                                                                          Case number (if know)
              First Name                Middle Name                      Last Name


    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)
    community debt

 Date debt was incurred       05/5/2005                   Last 4 digits of account number   0001


   Add the dollar value of your entries in Column A on this page. Write that number here:                        $129,024.61
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                       $129,024.61

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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